     Case 22-30043               Doc 7-1 Filed 02/02/22 Entered 02/02/22 15:00:28                     Desc
                                     Certificate of Service Page 1 of 1

                            UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                   CHARLOTTE DIVISION

In re:                                                     )
                                                           ) Case No.:       22-30043
CHARLOTTE AUTOMOTIVE CENTER                                )
SALES, LLC,                                                ) Chapter 11
                                                           )
                            Debtor.                        )

                                       CERTIFICATE OF SERVICE

The undersigned certifies that the Notice to Creditors Holding Twenty Largest Unsecured Claims
to which this Certificate is attached was served upon the party(s) to this action listed below by
depositing a copy of the same, enclosed in a first-class postpaid, properly addressed wrapper, in a
Post Office or official depository under the exclusive care and custody of the United States
Postal Service on February 2, 2022.

/s/ Shelley K. Abel
Shelley K. Abel
United States Bankruptcy Administrator
402 W. Trade Street, Suite 200
Charlotte, NC 28202-1669
N.C. Bar #34370
Telephone: (704) 350-7587 Fax: (704) 344-6666

 Essex Richards                        First National Bank of Pennsylvania   First National Bank of Pennsylvania
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